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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 MICHAEL DOMANN
 AND
 MARY JO DOMANN                                                   1:22-cv-2243
                                                         Case No. ________________
 10824 Watercress Road
 Strongsville, Ohio 44149                                Judge ___________________

        Plaintiffs,

       vs.

 FRONTIER AIRLINES
 C/O CORPORATION SERVICE
 COMPANY
 3366 Riverside Drive, #103
 Upper Arlington, Ohio 43221

       AND

 HUNTLEIGH USA CORP.
 5300 Riverside Drive
 Cleveland, Ohio 44135

        AND

 CITY OF CLEVELAND
 Cleveland Hopkins Airport
 C/O 601 Lakeside Avenue E.
 Cleveland, Ohio 44114

       Defendants.



        DEFENDANT FRONTIER AIRLINES, INC.’S NOTICE OF REMOVAL

      Pursuant to 28 U.S.C. §§ 1331, 1332, 1441, and 1446 and all other applicable laws, and

without waiving any rights, privileges, or defenses, Defendant Frontier Airlines, Inc. (“Frontier”)

gives notice of removal of the above-captioned action from the Court of Common Pleas of

Cuyahoga County, Ohio (the “State Court Action”) to the United States District Court for the

Northern District of Ohio, Eastern Division. As grounds for removal, Frontier states as follows:


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 I.     STATEMENT OF FACTS

        1.      On November 10, 2022, Plaintiffs Michael Domann and Mary Jo Domann

(collectively, the “Plaintiffs”) initiated the State Court Action by filing a Complaint in the Court

of Common Pleas of Cuyahoga County, Ohio, against Defendants Frontier, Huntleigh USA Corporation

(“Huntleigh”), and the City of Cleveland (“the City”) (Exhibit A: Complaint)

        2.      The Complaint alleges that Plaintiff Michael Domann (“Plaintiff”) is a paraplegic

who allegedly has no use of his legs, uses a wheelchair, and thus is reliant on upper body strength

in his shoulders and arms. (Id. at ¶ 2)

        3.      On February 16, 2022, Plaintiff was a passenger on a Frontier flight from Cleveland

Hopkins International Airport (“CLE”) to Orlando, Florida. (Id. at ¶ 3) Huntleigh allegedly

“provides wheelchair services in and about” CLE. (Id. at pg. 2) In fact, Huntleigh provides

wheelchair services for Frontier passengers at CLE pursuant to a Standard Ground Handling

Agreement between Huntleigh and Frontier. (See Exhibit B Declaration of Timothy J. O’Connell

(“O’Connell Decl.”) at Ex. 1 (SGHA excerpted pgs. 1-2)

        4.      The Complaint alleges that, for purposes of boarding the flight and being

transported to his seat, Plaintiff is required to be transferred to an “aisle chair”: i.e., a wheelchair

that fits in narrow aircraft aisles. (Id.) The Complaint alleges that “employees of the airlines

[Frontier] or their agents [Huntleigh]” wheeled Plaintiff from the gate to the entrance to the aircraft

and transferred him to an aisle chair. (Id. at ¶ 4) Plaintiff alleges that only one employee was assigned

to wheel him onto the aircraft. (Id.) The one employee assigned to Plaintiff allegedly turned away,

and Plaintiff was “dumped” from the aisle chair to the ground. (Id.)

        5.      According to the Complaint, Defendants’ actions caused the Plaintiff to sustain a

fall onto his right shoulder, with ongoing weakness and pain in that shoulder requiring treatment,




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and which may require surgery. ( I d . a t ¶¶ 4-5) Additionally, Plaintiff allegedly requires

additional ongoing daily assistance with his life functions. ( I d . a t ¶ 5) Furthermore, Plaintiff

Mary Jo Domann, who is alleged to be Plaintiff’s wife and “first caregiver,” allegedly suffers from

loss of society, as well as the need to provide additional care to Plaintiff now and in the future. (Id.

at ¶ 16)

        6.      Through this lawsuit, Plaintiffs assert causes of action against all three Defendant,

alike, for “strict liability,” “negligence and reckless disregard,” “punitive damages,” and

“consortium.” (Id. at ¶¶ 6-12, 15-16)

        7.      The online docket in the State Court Action shows that Plaintiffs served Fronter by

mail on November 17, 2022. (Exhibit C). The online docket in the State Court Action shows that

Huntleigh has not been served despite attempts on November 18 and 28, 2022. (Id.; see also 28

U.S.C. § 1446(b)(2)(A) (“When a civil action is removed solely under section 1441(a), all

defendants who have been properly joined and served must join in or consent to the removal of

the action.”) (emphasis added). Thus, Huntleigh’s consent in this removal is not required.

        9.      Additionally, as explained in detail below, the City was fraudulently joined in this

action for the purpose of defeating complete diversity. Thus, the City’s consent in this removal is

not required. See Chambers v. HSBC Bank USA, 796 F.3d 560, 564 (6th Cir. 2015) (finding that

consent of fraudulently joined defendant is not needed for removal).

        10.     As explained below, this action is removable to federal court under 28 U.S.C. §

1332(a) because there is complete diversity of citizenship between the properly joined parties, the

amount in controversy exceeds $75,000, and all the procedural requirements for removal are

satisfied.

        11.    Alternatively, Plaintiffs allege that federal law creates their causes of action, so this




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action is removable to federal court pursuant to federal question jurisdiction under 28 U.S.C. §

1331.

II.     ARGUMENTS AND AUTHORITIES

        A.      There Is Complete Diversity of Citizenship Between Plaintiffs and the
                Properly Joined Defendants, and More Likely Than Not the Amount in
                Controversy Is in Excess of $75,000, So There is Diversity Jurisdiction Under
                28 U.S.C. § 1332(a).

                1.      There Is Complete Diversity of Citizenship Between the Properly
                        Joined Parties.

        12.     Because the properly joined Plaintiffs are citizens of Ohio, and the properly joined

Defendants are citizens of Colorado, Missouri, and Texas, there is complete diversity of

citizenship between the properly joined parties to this case and removal is proper under 28 U.S.C.

§ 1332(a).

        13.     Plaintiffs allege that they are residents of Strongsville, Ohio. (Ex. A pg. 1)).

Because Plaintiffs bring this suit in their individual capacities, they are citizens of Ohio for removal

purposes.

        14.     Plaintiffs correctly allege that Defendant Frontier is and was at all times relevant to

these proceedings a corporation with its principal place of business in Denver, Colorado. (Id. at pg.

2) Additionally, Frontier is incorporated in the State of Colorado. (See Ex. B, O’Connell Decl. at

Ex. 2 (Frontier’s Secretary of State registration details) For the purposes of diversity jurisdiction,

Frontier is a citizen of Colorado. See 28 U.S.C. § 1332(c)(1) (“For the purposes of this section and

section 1441 of this title[,] a corporation shall be deemed to be a citizen of every State and foreign

state by which it has been incorporated and of the State or foreign state where it has its principal

place of business”).

        15.     Plaintiffs inaccurately or incompletely allege that Defendant Huntleigh is “officed”

in Cleveland, Ohio. (Ex. A pg. 2) However, whether Huntleigh maintains an office in Ohio is not


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relevant to the jurisdictional analysis. See 28 U.S.C. § 1332(c)(1). Instead, Huntleigh is

incorporated in the State of Missouri, and Huntleigh has its principal place of business in Texas.

(See Ex B, O’Connell Decl. at Ex. 3; id. at Ex. 4). Thus, for the purposes of diversity jurisdiction,

Huntleigh is a citizen of Missouri and Texas. See 28 U.S.C. § 1332(c)(1).

       16.     As explained more fully below, Defendant City of Cleveland was fraudulently

joined in this litigation. Therefore, its citizenship, should not be considered for purposes of the

diversity analysis. Coyne v. Am. Tobacco Co., 183 F.3d 488, 493 (6th Cir. 1999).

       17.     Because the City was fraudulently joined, Plaintiffs are Ohio citizens, and the

properly joined Defendants are citizens of Colorado, Missouri, and Texas, there is complete

diversity of citizenship. See 28 U.S.C. § 1332(a).

               2.      The Diversity-Defeating Party, the City of Cleveland, Was
                       Fraudulently Joined.

       18.     Even where the face of a complaint shows a lack of complete diversity, removal

based on diversity jurisdiction is nonetheless proper if the non-diverse parties were fraudulently

joined. See Coyne, 183 F.3d at 493 (“[The] fraudulent joinder of non-diverse defendants will not

defeat removal on diversity grounds.”). A party is fraudulently joined where “there can be no

recovery under the law of the state on the cause alleged” or where there is “no reasonable basis for

predicting that the state law might impose liability on the facts involved.” Alexander v. Elec. Data

Sys. Corp., 13 F.3d 940, 949 (6th Cir. 1994). When determining whether a party has been

fraudulently joined, the Court applies at test similar to the analysis under a Rule 12(b)(6) motion

to dismiss. Casias v. Wal-Mart Stores, Inc., 695 F.3d 428, 433 (6th Cir. 2012).

       19.     Here, the Ohio citizenship of Defendant City of Cleveland should be ignored under

the doctrine of fraudulent joinder because the Complaint fails to state a claim for relief against the

City. See Casias, 695 F.3d at 433.



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        20.     The Complaint alleges that “employees of the airlines [Frontier] or their agents

[Huntleigh]” wheeled Plaintiff from the gate to the entrance to the aircraft and transferred him to an

aisle chair. (Id. at ¶ 4) Plaintiff alleges that only one such employee was assigned to wheel him onto

the aircraft. (Id.) The one employee assigned to Plaintiff allegedly turned away and Plaintiff was

“dumped” from the aisle chair to the ground. (Id.) Plaintiff alleges that the aisle chair was not

properly staffed with a “second employee to help him with the transfer to and the movement of

the aisle chair” (Id. at ¶¶ 11, 14) Additionally, Plaintiff alleges that the foregoing incident was

cause by an aisle chair that “was not properly managed or equipped,” and that the condition of the

aisle chair was not properly maintained. (Id. at ¶¶ 10, 14) All of the foregoing allegations are

directed to Frontier and/or Huntleigh, and none are directed to the City.

        21.     Instead, Plaintiffs merely allege that the City “owns and operates” CLE. (Ex. A,

pg. 1) Additionally, Plaintiffs allege that the City “is subject to Title 49 of the U.S. Code in its duty

to provide a safe airport which is adaptive to handicapped usage.” (Id.; see also id. at ¶ 6) Plaintiffs

also appear to allege that the City is liable under Title 29. (See id. at ¶ 6 (“Under…29 USC citizens

of the U.S. have a public right of transit through navigable U.S. airspace and both airlines and

airports have a duty to protect individuals utilizing these airports…”); id. at ¶ 9 (“Section 502 29

USC 792 requires that airports and airlines in [sic] their respective agents are required to make

their facilities accessible for handicapped people”); id. at ¶ 11 (“…a disgraceful violation of 29

USC 92.”)

        22.     The Complaint, however, does not allege any facts showing how the City’s

ownership or operation of CLE caused or contributed to the alleged aisle chair incident. (Id.,

generally) Additionally, the Complaint does not allege facts showing that a defect or hazards on

the airport premises caused or contributed to the incident. (Id.) Furthermore, the Complaint does




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not allege that any acts or omissions by any City employees or agents caused or contributed to the

alleged incident. (Id.) Moreover, Plaintiffs do not allege that the City owned, operated, maintained,

equipped, or staffed the aisle chair. (Id.)

        23.     The basis for Plaintiffs’ claims against the City under Title 49 and Tile 29 is totally

unclear. Nevertheless, the Complaint does not allege any facts whatsoever regarding any

architectural or other barriers confronted by Plaintiff at CLE or any discrimination against Plaintiff

at CLE such that liability could be imposed on the City. Plaintiffs do not allege any facts showing

that CLE is unsafe, inaccessible, not “adaptive to handicapped usage,” or specifically failed to

accommodate Plaintiff’s specific disability. (Id.) To the contrary, the Complaint expressly alleges

that Plaintiff was being accommodated and assisted from the airport terminal to all the way to his

seat on the aircraft. However, Plaintiff allegedly did not make it to his seat only because the aisle

chair moved (id. at 4), and not because of any alleged airport issues.

        24.     Based on the alleged facts, there is “no reasonable basis for predicting that any law

might impose liability on the City. The factual allegations in the Complaint cannot support a

finding of liability against the City based on the “strict lability” or “negligence” causes of action

alleged in the Complaint, or indeed based on any theory of recovery. The factual allegations in the

Complaint do not plausibly demonstrate any right of recovery against the City. Plaintiffs simply

offer conclusory allegations that the City is liable. Plaintiff’s bald claims against the City are

deficient as a matter of law and are not sufficient to state a colorable claim for relief. See Murray

Energy Holdings Co. v. Bloomberg, L.P., No. 2:15-CV-2845, 2016 WL 3355456, at *4 (S.D. Ohio

June 17, 2016) (concluding that one of the plaintiffs was fraudulently joined after noting that the

complaint did not contain specific factual allegations required to state a misappropriation claim

and offered “mere legal conclusions as to ‘Plaintiffs’’ trade secret information”).




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        25.       Regarding the “consortium” claim alleged by Plaintiff’s wife, under Ohio law, “a

claim for loss of consortium is derivative in that the claim is dependent upon the defendant’s

having committed a legally cognizable tort upon the spouse who suffers bodily injury.” BoM’en v.

Kil-Kare, Inc., 63 Ohio St. 3d 84, 93, 585 N.E.2d 384 (1992). Because Plaintiff fails to state a

claim against the City, as set forth above, the derivative loss of consortium claim must fail, too.

        26.       Because Plaintiffs have not, and cannot, state colorable claims for relief against

Defendant City of Cleveland, the City was fraudulently joined and its citizenship must be ignored

in the diversity analysis. Coyne, 183 F.3d at 493.

                  3.     The Amount in Controversy Exceeds $75,000.

        27.       Plaintiff alleges that he is a paraplegic who allegedly has no use of his legs, uses a

wheelchair, and thus is reliant on upper body strength in his shoulders and arms. (Ex. A ¶ 2; see

also Exhibit D: Letter of representation (“You must understand the importance of his shoulder to

a man who has no use of his legs.”)) As a result of the alleged incident, Plaintiff allegedly an injury

to his right shoulder, with continuing weakness and pain in that shoulder requiring treatment, and

which may require surgery. ( I d . a t ¶¶ 4-5) Additionally, Plaintiff allegedly requires additional

ongoing daily assistance with his life functions. These injuries and damages allegedly exceed

$25,000 in damages. Thus, the amount on controversy is at least $25,000.01.

        28.      In light of the severity of the allegations, the preponderance of the evidence

demonstrates there is a reasonable possibility that the amount in controversy exceeds $75,000,

exclusive of interest and costs. See Dart Cherokee Basin Operating Co. v. Owens, 135 S. Ct. 547,

554 (2014) (“[A] defendant’s notice of removal need only include a plausible allegation that the

amount in controversy exceeds the jurisdictional threshold. Evidence establishing the amount is

required by § 1446(c)(2)(B) only when the plaintiff contests, or the court questions, the defendant’s

allegation.”).


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       29.     There is complete diversity of citizenship between Plaintiffs and the properly joined

Defendants, and more likely than not the amount in controversy is in excess of $75,000, so this

Court has original jurisdiction under 28 U.S.C. § 1332(a).

       B.      In the Alternative, the Complaint Alleges That Federal Law Creates Plaintiff’s
               Causes of Action, So There is Federal Question Jurisdiction Under 28 U.S.C.
               § 1331.

       30.     “Congress has given the lower federal courts jurisdiction to hear, originally or by

removal from a state court, only those cases in which a well-pleaded complaint established either

that federal law creates the cause of action or that the plaintiff’s right to relief necessarily depends

on resolution of a substantial question of federal law.” Palkow v. CSX Transportation, Inc., 431

F.3d 543, 552 (6th Cir.2006), (quoting Franchise Tax Board v. Constr. Laborers Vacation Trust,

463 U.S. 1, 27, 103 S.Ct. 2841, 77 L.Ed.2d 420 (1983)).

       31.     Here, Plaintiff expressly alleges that federal law creates his causes of action.

Specifically, Plaintiff alleges causes of action arising under Title 49 and Title 29. (Ex. A ¶6). As

discussed above, Plaintiff fails to state claims against the City under Titles 49 and 29 as a matter

of law, which demonstrates that the City was fraudulently joined. If the Court finds, however,

that Plaintiff did not fail to state claims against the City under Titles 49 and 29, or that Plaintiff

has stated colorable claims against Fronter or Huntleigh under Title 49 and/or Title 29, then such

claims provide a basis for this Court’s federal question jurisdiction under 28 U.S.C. § 1331.

       C.      The Procedural Requirements for Removal Are Satisfied.

       32.     This Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b) because it

is filed within 30 days after Plaintiffs served Frontier with the Complaint by mail on November

17, 2022. 28 U.S.C. §§ 1446(b)(1), 1446(b)(2)(B) (“Each defendant shall have 30 days after receipt

by or service on that defendant of the initial pleading or summons described in paragraph (1) to

file the notice of removal.”). Additionally, this Notice of Removal is filed less than one year after


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the commencement of the State Court Action. 28 U.S.C. § 1446(c)(1).

       33.     Venue is proper because this is the District Court for the district and division

embracing the place where the State Court Action was pending (Cuyahoga County, Ohio). 28

U.S.C. § 1441(a).

       34.     As explained above, Defendant Huntleigh has not been proper joined and served,

and Defendant City of Cleveland was fraudulently joined in this action, so Frontier does not need

the consent of the other Defendants. 28 U.S.C. 1446(b)(2)(A) (“When a civil action is removed

solely under section 1441(a), all defendants who have been properly joined and served must join

in or consent to the removal of the action.”) (emphasis added); Chambers, 796 F.3d at 564 (finding

that consent of fraudulently joined defendant is not needed for removal).

       35.     Pursuant to 28 U.S.C. § 1446(d), Frontier is providing Plaintiffs with written notice

of the filing of this Notice of Removal and is filing a copy of this Notice of Removal with the

Clerk of the Court of Common Pleas of Cuyahoga County, Ohio.

       36.     Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all process, pleadings,

and orders filed in the State Court Action as of the date of removal are attached. (Exhibit E)

       37.     Frontier has paid all appropriate and applicable fees of this Court.

       Therefore, pursuant to 28 U.S.C. §§ 1331, 1332, 1441, and 1446, Defendant Frontier

Airlines, Inc. hereby removes the above-captioned State Court Action from the Court of Common

Pleas of Cuyahoga County, Ohio.




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                                            Respectfully submitted,

                                            JAFFE RAITT HEUER & WEISS, P.C.
                                            By: /s/ Scott R. Torpey
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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 13, 2022, I caused the foregoing document to be

electronically filed with the Clerk of the Court using the ECF system, which sent notification of

such filing upon all ECF Participants.


                                                    By:    /s/ Scott R. Torpey           ___




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